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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION
In re:
MATTHEW BRUCE HINTZE &                                     Case No. 12-10462-KKS
LARINA K. HINTZE,                                          Chapter: 7

         Debtors.
_____________________________________/
JOHN SPENCE, et al.                                        Adv. No. 13-01007-KKS

         Plaintiffs,

v.

MATTHEW BRUCE HINTZE &
LARINA K. HINTZE,

     Defendants.
_____________________________________/

          FINAL JUDGMENT FOR PLAINTIFFS ON COUNT VIII OF
                           COMPLAINT

         For the reasons set forth in the Findings of Fact, Conclusions of Law and

Memorandum Opinion in Support of Final Judgment for Plaintiffs on Count VIII of

Complaint (Doc. 915), it is ORDERED:

         1. Final Judgment is entered for Plaintiffs and against Defendants on Count

            VIII of the Complaint. Defendants’ discharges are DENIED, pursuant to

            11 U.S.C. § 727(a)(2)(A).
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       2. The Court previously ruled that Plaintiffs are entitled to sanctions for

          discovery abuses (Docs. 531 & 758). Plaintiffs have through January 26,

          2017 within which to submit records in support of the amounts requested

          as sanctions (Doc. 912). The Court reserves jurisdiction to supplement this

          Final Judgment to include the sanctions award, once the amount of

          sanctions is determined.

       3. Plaintiffs have requested the Court to liquidate the amounts due under their

          promissory notes, including attorneys’ fees, as part of this Final Judgment

          (Doc. 866). Defendants oppose that relief. The parties have briefed the

          issue. The Court reserves jurisdiction to rule on this issue, and on any

          other pending matters in this adversary proceeding.

       4. The Court will enter an order denying Defendants’ discharges in

          administrative case No.: 12-10462 and the Clerk shall promptly notify all

          parties in interest pursuant to Fed. R. Bankr. P. 4006.


                            January 13, 2017
       DONE AND ORDERED ON ____________________________.


                                               __________________________
                                               KAREN K. SPECIE
                                               United States Bankruptcy Judge


cc: all parties in interest




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